      Case 8-20-72407-reg            Doc 456        Filed 07/06/22     Entered 07/06/22 13:30:28




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                                     Case No.20-72407-reg
        Myint Kyaw aka Jeffrey Wu,


                                    Debtor.                          Chapter 11
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                          ORDER CONVERTING CASE TO CHAPTER 7

                 The Debtor having filed a petition for relief under Chapter 11 on July 8, 2020, and

the Court having filed an Order to Show Cause to convert the Debtor’s case to a case under

Chapter 7 on June 2, 2022 [ECF 208] and a hearing on the Order to Show Cause having been

held on June 9, 2021 and the Court having determined to appoint an examiner pursuant to 11

U.S.C § 1104 (c ), and an order having been entered authorizing the appointment of an examiner

on June 15, 2021 [ECF 231], and an Order restoring the Order to Show Cause to convert the

Debtor’s case to a case under Chapter 7 having been entered on September 8, 2021 [ECF 255]

and the Debtor having consented to the appointment of an operating trustee at the hearing held

on the Order to Show Cause on September 13, 2021, and the Court having entered an order on

September 14, 2021 directing the Office of the United States Trustee to appoint a Chapter 11

operating trustee pursuant to § 1104 [ECF 269], and Lori Lapin Jones having been appointed the

Chapter 11 operating trustee (“Operating Trustee”) of the Debtor on September 17, 2021, and the

Debtor and the Operating Trustee having filed a Joint Disclosure Statement and Joint Plan on

March 4, 2022 [ECF 362, 363], and an order approving the Second Amended Joint Disclosure

Statement and scheduling a hearing on confirmation of the Second Amended Joint Plan having

been entered on April 6, 2022 [ECF 398], and a hearing on confirmation of the Second Amended

Joint Plan having been held on April 29, 2022, and the Operating Trustee having provided
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testimony that the Second Amended Joint Plan was not confirmable, and the Court having stated

on the record at the hearing, which is incorporated by reference hereto, that the Debtor’s case

would be converted to Chapter 7 if on or before July 6, 2022, the proposed financing required to

fund the Debtor’s plan was not finalized, and the Operating Trustee having reported to the Court

that the proposed financing is no longer viable, and the Court having concluded that cause exists

under 11 U.S.C. § 1112(b) to convert the Debtor’s case to a case under Chapter 7; now therefor,

it is hereby

        ORDERED, that the Debtor’s case is converted to a case under Chapter 7 of the United

States Bankruptcy Code.




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 Dated: Central Islip, New York                                    Robert E. Grossman
        July 6, 2022                                          United States Bankruptcy Judge
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